                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 MORY KEITA, et al.,                          :      Case No. 1:20-cv-1005
                                              :
        Petitioners,                          :      Judge Timothy S. Black
 vs.                                          :
                                              :
 WILLIAM BARR, et al.,                        :
                                              :
        Respondents.                          :

                                         ORDER

       Petitioner Mory Keita (“Petitioner”), who is/was detained in in the custody of U.S.

Immigration and Custom Enforcement (“ICE”), has filed an emergency petition for a

Writ of Habeas Corpus Ad Testificandum. (Docs. 1, 2). Petitioner initially sought a stay

of his removal, in order to offer testimony in a separate civil case pending before this

Court, Bayong et al. v. Butler County, et al., No. 1:20cv985. (Doc. 2). However, the

Court was subsequently informed that Petitioner was removed this morning, on Omni

Air Flight 320, departing Alexandria, Louisiana. (Doc. 5).

       To the extent that Petitioner’s flight remains in and is scheduled to stop within the

United States, the Court hereby ORDERS Petitioner to be removed from the flight and to

remain in the United States, in the custody of ICE, pending his deposition testimony,

which SHALL occur no later than fourteen (14) days from the date of this Order.

       IT IS SO ORDERED.

Date: 12/15/2020
                                                             Timothy S. Black
                                                             United States District Judge
